Case: 1:22-cv-01291 Document #: 1-3 Filed: 03/10/22 Page 1 of 5 PageID #:34




                    Exhibit C
                         Case: 1:22-cv-01291 Document #: 1-3 Filed: 03/10/22 Page 2 of 5 PageID #:35
earing Date: No hearing scheduled
ocation: <<CourtRoomNumber>>
Jdge: Calendar, 3 This form is approved by the Illinois Supreme Court and is required
                                                                                      to be accepted in ali llinois Circuit Courts.
                    STATE OF ILLINOIS,                                                                           For Court Us 092
                         CIRCUIT COURT
                                                                                                                                         12:16 PM
                                                                                                                              IRIS Y. MARTINEZ
                                                                           SUMMONS                                           CIRCUIT CLERK
            Cook                   [+] county                                                                                COOK COUNTY, IL
                                                                                                                             2022CH01062
            Instructions                                                                                                     Calendar, 3
         Enter above the
                                                                                                                             16618927
         county   name   where
         the case was filed.         ATHENA     BITCOIN     GLOBAL
         Enter your name as           Plaintiff / Petitioner (First, middle, last name)
         Plaintift/Petitioner.
         Enter the names of all
         people you are suing as
         Defendants/
        Respondents.
        HT                           SHAUN OVERTON, INDIVIDUALLY & AS PART OF THE C                              2022CH01062
        Number given by the           Defendant / Respondent       (First, middle, last name)                   Case Number
        Circuit Clerk.



        In 1, if your lawsuit is            Information about the lawsuit:
        for money, enter the
        amount of money you                 Amount claimed:             $ 3,000,000.00
        seek from the
        Defendant/                         Contact information for the Plaintiff/Petitioner:
        Respondent.
                                           Name (First, Middle, Last): ATHENA BITCOIN GLOBAL
        In 2, enter your                   Street Address, Apt#:      1332 N. HALSTED ST., SUITE 401
        contact information.
        If more than 1 person              City, State, ZIP;    CHICAGO, IL. 60642
        is bringing this                   Telephone:     (312) 690-4466
        lawsuit, attach an                 See attached for additional Plaintiff/Petitioner contact information
        Additional
        PlaintifiPetitioner
        Contact Information                Contact information for the Defendant/Respondent:
        form.                              Name (First, Middle, Last): SHAUN OVERTON, INDIVIDUALLY & AS PART OF THE CONJUI
       In 3, enter the name of             Street Address, Apt#:  1917 SAGE TRAIL
       the person you are
       suing and their                     City, State, ZIP: HURST, TX 76054
       address.                            Telephone: (817) 714-6929
       If more than [ person is
                                           See attached for additional Defendant/Respondent contact information
       being sued, attach an
       Additional
       Defendant/Respondent
       Contact Information
       form.




                                              You have been sued.
                                              Follow the instructions on the next page on how to appear/answer.
                                                   e   Ifyou do not appear/answer the court may decide the case without hearing from you and
                                                       enter a judgment against you for what the plantiff/petitioner is asking.
       Important Information for the
       person receiving this form:                °   Your written appearance/answer must be filed on time and in the proper form.
                                                   e    Forms for a written appearance/answer are available here:
                                                        http://www.illinoiscourts.gov/forms/approved/default.asp
                                              If you cannot afford to pay the fee for filing your appearance/answer, ask the circuit clerk
                                                                                                                                           for an
                                              application for waiver of court fees.
                                              You should read all of the documents attached.




      SU-S 1503.1                                                         Page 1 of 4              :                                         (09/18)
                   Case: 1:22-cv-01291 Document #: 1-3 Filed: 03/10/22 Page 3 of 5 PageID #:36

                                                                Enter the Case Number given by the Circuit Clerk:
   In 4, the Circuit Clerk      4.    Instructions for person receiving this form {Defendant/Respondent):
   will give you the court
   date or appearance                 To respond to this Summons you must;
  date, check any boxes               [J]   Goto court:
  that apply, and include                   On this date:
  the address of the
                                                                                              at this time:                       am.   [J p.m.
  court building and                        Address:                                                                Court Room:
  room where the                            City, State, ZIP:
  Defendant/
  Respondent must file
  their response.
                                      []    File a written Appearance and Answer/Response with the court:
                                            On or before this date:                           at this time:                       am.   [J] p.m.
                                            Address:
                                            City, State, ZIP:

                                     [/1    File a written Appearance and Answer/Response with the court within 30 days from
                                            the day you receive this Summons (listed below as the “Date of Service").
                                            On this date:                         at this time:                       am.               Ol pm.
                                            Address:
                                            City, State, ZIP:       CHICAGO, IL


           STOP!               Witness this Date:           2/8/2022 12:16 PM IRIS Y. MARTINEZ
 The Circuit Clerk will
 fill in this section.
                               Clerk of the Court:




          STOP!               This Summons must be served within 30 days of its date, listed above.
 The officer or process
 server will fill in the
 Date of Service.
                              Date of Service:
                                                    (Date to be entered by an officer or process server on the copy of this Summons left
                                                    with the Defendant/Respondent or other person.)



                             To serve this Summons, you must hire the sheriff (or a private process server outside of Cook County) to
                             deliver it and your Complaint/Petition to the Defendant/Respondent. If the sheriff (or private process
                             server outside of Cook County) tries but can’t serve the Summons, fill out another summons and repeat
 Plaintiff/Petitioner:       process.                                                                                               this




                             E-Filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first
        Attention;           create an account with an e-filing service provider. Visit http:/efile.illinoiscourts.gov/service-providers.
                                                                                                                                         htm
                     :       to learn more and to select a service provider. If you need additional help or have trouble e-filing, visit
                             http://www.illinoiscourts. gov/fag/gethelp.asp. or talk with your local circuit clerk's office.




SU-S   1503.1                                                         Page 2 of 4                                                        (09/18)
                Case: 1:22-cv-01291 Document #: 1-3 Filed: 03/10/22 Page 4 of 5 PageID #:37

              This form is approved           by the lliinois Supreme     Court and is required to be accepted in all lllinois Circuit Courts.
              STATE       OF   ILLINOIS,                                                                                  for Court Us. Oily

               CIRCUIT COURT                                     AFFIDAVIT OF SERVICE                   OF
                                                                      SUMMONS AND
      Cook                     [~] county                            COMPLAINT/PETITION

       Instructions
  Enter above the
  county name where
  the case was filed.             ATHENA BITCOIN GLOBAL
  Enter your name as               Plaintiff / Petitioner (First, middle, last name)
  Plaintiff/Petitioner.
  Enter the name of the
  Person you are suing as          V.
  Defendant/Respondent.
  Enter the Case                 SHAUN OVERTON, INDIVIDUALLY & AS PART OF THE C
  Number given by the             Defendant / Respondent (First, middle, last name)                                      Case Number
  Circuit Clerk.



                                   **Stop. Do not complete the form. The sheriff will fiil in the form.**

  DO NOT complete                 My name is
  this section. The                                                                                                               and | swear under oath
                                                         First, Middie, Last
  sheriff will complete
  it.                             that | served the Summons and Complaint/Petition on the Defendant/Respon
                                                                                                           dent

                                                                                                                    as follows:
                                  First, Middle, Last


                                         [J      Personally on the Defendant/Respondent:
                                                 Male:    []]         Female:    []        Approx. Age:                    Hair Color:
                                                 Height:                   Weight:
                                                 On this date:                                      at this time:                        (lam.    [Jpm.
                                                 Address:
                                                 City, State, ZIP:

                                        [J       Atthe Defendant/Respondent's home:
                                                 On this date:                                     at this time:                     _ dam.      [Jp.m.
                                                 Address:
                                                 City, State, ZIP:
                                                 And left it with:
                                                                        First, Middle, Last
                                                 Male:      []       Female:     []         Approx. Age:
                                                and by sending a copy to this defendant in a postage-paid, sealed envelope
                                                                                                                           to the
                                                above address on                        , 20

                                        [J      On the Corporation's agent,
                                                                                         First, Middle, Last
                                                On this date:                                     at this time:                          Cam.    [Jpm.
                                                Address:
                                                City, State, ZIP:




SU-S 1503.1                                                                Page 3 of 4
                                                                                                                                                    (09/18)
               Case: 1:22-cv-01291 Document #: 1-3 Filed: 03/10/22 Page 5 of 5 PageID #:38

                                            Enter the Case Number given by the Circuit Clerk:

   DO NOT complete       By:
   this section. The
   sheriff, or private
   process server will
   complete it.          Signature                                        FEES

                                                                          By certified/registered   $
                                                                          Service and Return        $
                         Print Name                                       Miles:                    $

                                                                         Total       $




SU-S 1503.1                                      Page 4 of 4
                                                                                                        (09/18)
